Case 1:24-cr-20008-DSL Document 98 Entered on FLSD Docket 01/31/2025 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 24-CR-20008-DSL

 UNITED STATES OF AMERICA,

       Plaintiff,
 vs.

 MICHAEL GEILENFELD,

       Defendant.
 _____________________________________/

                    MOTION TO EXCLUDE EXPERT TESTIMONY

       COMES NOW, MICHAEL GEILENFELD, through undersigned counsel and

 files this motion to exclude the government’s proffered expert testimony of Dr. Cecile

 Accilien. In support thereof it is stated as follows:

                                      ARGUMENT

       Testimony of an expert witness is governed by Federal Rule of Evidence 702.

 In determining the admissibility of an expert witness, courts must consider whether:

 1) the expert is qualified to testify on the matters she intends to address; 2) the

 methodology by which the expert reaches his conclusion is sufficiently reliable as

 mandated by Daubert; and 3) the testimony assists the trier of fact through the

 application of scientific, technical or specialized expertise to understand the evidence

 or to determine a fact in issue. United States v. Frazier, 387 F.3d 1244, 1260 (11th

 Cir. 2004), Daubert v. Merrell Dow Pharms., 509 U.S. 579 (1993). Importantly, Rule

 702(a) requires that the testimony “help the trier of fact to understand the evidence

 or to determine a fact in issue.” Under this helpfulness prong, “expert testimony is
Case 1:24-cr-20008-DSL Document 98 Entered on FLSD Docket 01/31/2025 Page 2 of 4




 admissible if it concerns matters that are beyond the understanding of the average

 lay person.” Frazier, 387 F.3d at 1262.

       Here, the entirety of Dr. Accilien’s proffered testimony does not meet the

 requirements of Rule 702 because her specialized expertise, which is Francophone

 African and Caribbean Literature and Culture; Gender and Sexuality Studies and

 Film and Media Studies will not assist the trier of fact in this trial which involves the

 alleged sexual abuse of children.

       Dr. Accilien does not have any experience in researching or writing on child

 sex abuse, which is the main issue the trier of fact will be asked to consider in this

 trial. She does not have any experience in researching or writing about exploitation

 of Haitian children by foreigners or light-skinned Americans. She has never

 researched or published any material about corruption in Haiti. She has never

 researched or published anything in regards to Haitian record-keeping, before or

 after the 2010 earthquake. While Dr. Accilien may have visited Haiti in the years

 leading up to and after the earthquake, there is nothing in her research or

 publications that indicate she can offer any specialized expertise in Haitian record-

 keeping that a lay witness could not also offer.

       Lastly, Dr. Accilien referenced several authors as sources for her research for

 her proffered testimony. Those sources will be attached as Exhibit A. None of the

 sources Dr. Accilien provided have authored any publication on child sex abuse,

 exploitation of Haitian children by foreigners, Haitian corruption, or Haitian record-

 keeping practices.



                                            2
Case 1:24-cr-20008-DSL Document 98 Entered on FLSD Docket 01/31/2025 Page 3 of 4




       The entirety of Dr. Accilien’s proffered testimony fails all three prongs of FRE

 702. Her expertise in some aspects of Haitian culture and adult sexuality will not

 assist the trier of fact in understanding the evidence or determining a fact at issue.

       WHEREFORE, MICHAEL GEILENFELD, respectfully requests this Court

 grant the motion and preclude the government from eliciting the proffered expert

 testimony of Dr. Accilien.




                                         Respectfully submitted,

                                         HECTOR DOPICO
                                         FEDERAL PUBLIC DEFENDER

                                     By: /s/ Jean-Pierre Gilbert
                                        Jean-Pierre Gilbert
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                              CERTIFICATE OF SERVICE

       I HEREBY certify that on January 31, 2025, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record via transmission of Notices

 of Electronic Filing generated by CM/ECF or in some other authorized manner for

 those counsel or parties who are not authorized to receive electronically Notices of

 Electronic Filing.




                                            3
Case 1:24-cr-20008-DSL Document 98 Entered on FLSD Docket 01/31/2025 Page 4 of 4




                                     /s/ Jean-Pierre Gilbert
                                        Jean-Pierre Gilbert




                                       4
